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Attorneys for Defendant Greyhound Lines, Inc.


        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    SOUTHERN DIVISION


 MARY MORRISETT,
                                                        NOTICE OF REMOVAL TO
              Plaintiff,                             UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF UTAH
 vs.

 GREYHOUND LINES, INC, and JOHN                    Civil No.: _________________
 DOES 1-XX,                                        Judge ______________

              Defendants.


         Defendant Greyhound Lines, Inc. (“Greyhound”), by and through its undersigned

counsel, hereby files this Notice of Removal of Case No. 220700001 filed in the Seventh Judicial

District Court in and for Emery County, State of Utah and styled Mary Morrisett v. Greyhound

Lines, Inc., and John Does I-XX (the “Civil Action”) and further states:

         1.    On January 3, 2022, Plaintiff commenced the Civil Action in the Seventh District

Court in and for Emery County, State of Utah, by filing of a Complaint.

         2.    Greyhound Lines, Inc. (“Greyhound”) first received a copy of the Complaint on

January 4, 2022.
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           3.    The Complaint alleges, among other things, that Plaintiff Mary Morrisett is a

resident of White County, Georgia.

           4.    Defendant Greyhound is now and was at the time of the commencement of this

action a foreign corporation that has its corporate offices and principal place of business in

Dallas, Texas. While Greyhound has an office in Utah, Greyhound is not incorporated in, nor

does it have a principal place of business in, Utah.

           5.    Based upon the reasonably diligent search conducted by undersigned counsel,

Greyhound submits, upon information and belief, that there is now, and was at the time the

defendant received a copy of the Complaint, complete diversity of citizenship between the

parties.

           6.    The Civil Action is one over which this Court has original jurisdiction pursuant to

28 U.S.C. § 1332 and is one that may be removed to this Court pursuant to 28 U.S.C. § 1441(b).

           7.    The Complaint asserts the matter in controversy exceeds $300,000.00 exclusive of

interest and costs.

           8.    This Notice of Removal is filed within thirty (30) days after the defendant

received a copy of the Complaint with was the first paper from which it could be ascertained that

the case is one which is removable.

           9.    Written notice of the filing of the Notice of Removal will be given to all adverse

parties as required by 28 U.S.C. § 1446(d).

           10.   A true and correct copy of this Notice of Removal will be filed with the Clerk of

the Seventh District Court, Emery County, State of Utah, as provided by 28 U.S.C. § 1446(d).




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       11.     Defendant Greyhound reserves all rights and defenses and waives none by virtue

of this removal.

       12.     Pursuant to 28 U.S.C. § 1446(a), attached hereto collectively as Exhibit A is a

copy of all known process, pleadings, and orders filed in the state court action.

       13.     Greyhound has complied with all the requirements of 28 U.S.C. § 1446.

       14.     A copy of the “Notice of Filing Notice of Removal,” which is being filed in the

State Court Action, is attached hereto as Exhibit B.

       DATED this 12th day of January 2022.

                                              CHRISTENSEN & JENSEN, P.C.

                                              /s/Stephen D. Kelson
                                              Stephen D. Kelson
                                              Attorneys for Defendant Greyhound Lines, Inc




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        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                  SOUTHERN DIVISION


 MARY MORRISETT,
                                                   CERTIFICATE OF SERVICE FOR
             Plaintiff,                              NOTICE OF REMOVAL TO
                                                  UNITED STATES DISTRICT COURT
 vs.                                                FOR THE DISTRICT OF UTAH

 GREYHOUND LINES, INC, and JOHN
 DOES 1-XX,                                     Civil No.: _________________
                                                Judge ______________
              Defendants.



       I hereby certify that on the 12th day of January 2022, a true and correct copy of the
foregoing NOTICE OF REMOVAL TO UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF UTAH was served via email to the following:
       Kurt B. London                           Matthew J. Grossman – pro hac vice anticipated
       CRAIG SWAPP & ASSOCIATES                 10 West Adams Street
       9980 South 300 West, #400                Jacksonville, FL 32202
       Sandy, UT 84070                          mgrossman@farahandfaraha.com
       kurt.london@craigswapp.com               Attorney for Plaintiff
       Attorney for Plaintiff


                                   CHRISTENSEN & JENSEN, P.C.

                                   /s/Stephen D. Kelson
                                   Stephen D. Kelson
                                   Attorneys for Defendant Greyhound Lines, Inc.
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                                     Index of Exhibits

Exhibit A   Copy of all known process, pleadings, and orders filed in the state court action

Exhibit B   Notice of Filing Notice of Removal




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